            Case 1:20-cv-01213-AS Document 15 Filed 02/18/20 Page 1 of 9




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 LIVE BRANDS HOLDINGS, LLC,

        Plaintiff,

 v.

 GASTRONOMICO GRACIAS A DIOS,                     Case No. 1:20-cv-1213
 SOCIEDAD RESPONSABILIDAD
 LIMITADA de CAPITAL VARIABLE;
 XAIME NIEMBRO ALVAREZ;
 PABLO LOPEZ VARGAS;
 JOSE ENRIQUE JIMENEZ BARCENAS;
 and OSCAR HERNANDEZ SANTIAGO,

        Defendants.


               AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff, LIVE BRANDS HOLDINGS, LLC, hereby sues GASTRONOMICO

GRACIAS A DIOS, SOCIEDAD RESPONSABILIDAD LIMITADA DE CAPITAL

VARIABLE, XAIME NIEMBRO ALVAREZ, PABLO LOPEZ VARGAS, JOSE ENRIQUE

JIMENEZ BARCENAS, and OSCAR HERNANDEZ SANTIAGO, and states as follows:

                                        The Parties

       1.      Plaintiff, Live Brands Holdings, LLC (Live Brands or Plaintiff), is a limited

liability company formed and existing under the laws of the state of Florida, with its

principal place of business in Florida. Live Brands is a successor in interest to the rights

of Domaine Select Wine & Spirits, LLC (DSWS), a Delaware limited liability company,

with its principal place of business at 105 Madison Avenue, New York, New York, 10016,

in New York County.
            Case 1:20-cv-01213-AS Document 15 Filed 02/18/20 Page 2 of 9




       2.      Live Brands is a single member limited liability company and its sole

member is BAF II Brand Holdings, Inc., a Florida corporation with its principal place of

business located in Florida.

       3.      Defendant, Gastronomico Gracias a Dios, Sociedad Responsabilidad

Limitada de Capital Variable (GAD), is a corporation formed and existing under the laws

of the country of Mexico with its principal place of business located in Mexico.

       4.      Defendant, Xaime Niembro Alvarez (Alvarez) is a citizen and resident of the

country of Mexico and is not lawfully admitted for permanent residence in the United

States and is not domiciled in the State of Florida.

       5.      Defendant, Pablo Lopez Vargas (Vargas) is a citizen and resident of the

country of Mexico and is not lawfully admitted for permanent residence in the United

States and is not domiciled in the State of Florida.

       6.      Defendant, Jose Enrique Jimenez Barcenas (Barcenas) is a citizen and

resident of the country of Mexico and is not lawfully admitted for permanent residence in

the United States and is not domiciled in the State of Florida.

       7.      Defendant, Oscar Hernandez Santiago (Santiago) is a citizen and resident

of the country of Mexico and is not lawfully admitted for permanent residence in the United

States and is not domiciled in the State of Florida. (Alvarez, Vargas, Barcenas and

Santiago are collectively referred to as the Individual Defendants).




                                             2
            Case 1:20-cv-01213-AS Document 15 Filed 02/18/20 Page 3 of 9




                                       Jurisdiction

       8.      The amount in controversy is in excess of $75,000, exclusive of interests,

costs, and attorneys’ fees.

       9.      This Court has subject matter jurisdiction because the amount in

controversy exceeds the sum or values of $75,000, exclusive of interest and costs, and

is between a citizen of Florida, as Plaintiff, and citizens of a foreign country, Mexico, and

none of the defendants are lawfully admitted for permanent residence in the United States

who are domiciled in the State of Florida.

       10.     This Court has personal jurisdiction over the parties because: (a) the basis

of this lawsuit is a contract between DSWS and GAD which required substantial acts to

be performed in New York; (b) injuries as a result of the breach occurred in New York

County, New York; (c) the contract at issue has a specific provision which requires that a

lawsuit to resolve any dispute involving the contract “must be brought in New York, New

York.”; and (d) the contract requires the Individual Defendants who negotiated and agreed

to the terms of the contract, as the four shareholders of GAD, to transfer their shares of

GAD to a Florida entity, as more fully alleged below.

                                 Substantive Allegations

       11.     GAD produces, and owns the registered trademark rights in, Mezcal brand

alcoholic spirits.

       12.     DSWS entered into a binding Memorandum of Understanding (MOU) with

GAD, a copy of which is attached as Exhibit 1. As such, there was both an offer and an

acceptance of the terms of the MOU by both DSWS and GAD.




                                             3
         Case 1:20-cv-01213-AS Document 15 Filed 02/18/20 Page 4 of 9




       13.    DSWS and GAD each gave good and valuable consideration in exchange

for entering into the MOU.

       14.    The MOU states specifically that it is the intent of DSWS and GAD that the

parties be bound by the provisions of the MOU.

       15.    The MOU provides DSWS, along with other rights, exclusive global

distribution rights to spirits produced by GAD and also appoints DSWS as the exclusive

GAD importer for the United States, including granting the right to handle all marketing

and promotional activities in the United States.

       16.    Under the terms of the MOU, DSWS (or affiliate) agreed to invest $750,000

in GAD Spirits for a 50% ownership interest in GAD Spirits, LLC, a Florida limited liability

company (GAD Spirits) (Ex. A, ¶4(a)). The shareholders of GAD agreed to contribute

100% of their shares in GAD to GAD Spirits (Ex. A, ¶4(b)). As such, under the terms of

the MOU, DSWS was to own 50% of GAD Spirits and the then-existing shareholders of

GAD were to own the other 50% of the shares of GAD Spirits, and GAD Spirits was to

own 100% of the shares of GAD.

       17.    DSWS provided GAD $285,000 of the $750,000, which, under the terms of

the MOU, were used for construction and expansion of GAD’s production facilities in

Oaxaca, Mexico.

       18.    DSWS also provided GAD $115,000 which, under the terms of the MOU,

were to be used to for general working capital (inventory, dry goods, and other costs

associated with proposed development and transaction fees).

       19.    The remaining $350,000 of the $750,000 was to be funded by DSWS in

accordance with a funding schedule set forth in the MOU and was conditioned on: (a)



                                             4
          Case 1:20-cv-01213-AS Document 15 Filed 02/18/20 Page 5 of 9




GAD achieving certain operating targets identified on Exhibit C to the MOU; (b) GAD

redeeming the membership interests owned by the then-existing owners of GAD in GAD

Spirits; (c) GAD having ownership, free of liens, of the fixed assets used in the production

of distilled spirits produced by GAD; and (d) the right to use the land where GAD operates

for 30 to 50 years, without expense.

       20.    Notwithstanding GAD’s failure to comply with all of the conditions precedent

for the funding of the remaining $350,000, DSWS attempted to contribute the $350,000

to GAD but GAD wrongfully refused to accept the money.

       21.    DSWS has assigned all of its rights and obligations under the MOU to

Plaintiff Live Brands.

       22.    GAD breached the MOU by:

              (a)    Failing to provide proof to DSWS or Live Brands that GAD has

       ownership, free and clear of liens, of the fixed assets used in the production of the

       distilled spirits produced by GAD;

              (b)    Failing to provide proof to DSWS or Live Brands that it has the right

       to redeem the membership interests of the existing investors of GAD in GAD Spirits

       upon DSWS paying the remaining $350,000 due under the MOU;

              (c)    Failing to provide proof to DSWS or Live Brands that GAD achieved

       specified operating targets, as specified in Exhibit C to the MOU;

              (d)    Failing to provide proof to DSWS or Live Brands that GAD has the

       right to use the land where GAD operates for 30 to 50 years without expenses;




                                             5
          Case 1:20-cv-01213-AS Document 15 Filed 02/18/20 Page 6 of 9




              (e)    Failing to provide proof to DSWS or Live Brands that the GAD

       shareholders contributed 100% of their shares in GAD to GAD Spirits in exchange

       for a direct or indirect 50% ownership interest in GAD Spirits; and

              (f)    Failing to provide DSWS or Live Brands a 26.67% ownership interest

       in GAD Spirits for its proportional funding of the amounts set forth in the MOU.

              (g)    Upon information and belief, granting distribution rights to one or

       more third parties for spirits produced by GAD, which violates Plaintiff’s rights

       under the MOU to be the exclusive GAD importer for the United States, including

       granting the right to handle all marketing and promotional activities in the United

       States; and

              (h)    Not acting in good faith and violating the implied covenant of good

       faith and fair dealing by refusing to comply with the conditions precedent for

       funding the $350,000 and then refusing to accept the $350,000 when tendered by

       DSWS.

       23.     Live Brands, as assignor of the rights of DSWS under the MOU, has been

damaged as a result of GAD’s breach of the MOU.

                                         COUNT I

       24.    Plaintiff realleges and incorporates by reference the allegations contained

in paragraphs 1 through 23, as if fully set forth herein.

       25.    This is a cause of action seeking monetary damages for GAD’s breach of

the MOU.




                                              6
          Case 1:20-cv-01213-AS Document 15 Filed 02/18/20 Page 7 of 9




       WHEREFORE, Live Brands prays this Court enter a judgment in favor of Live

Brands and against GAD for compensatory damages for breach of the MOU, for interest

on all amounts owed, and for such other and further relief as may be deemed appropriate.

                                         COUNT II

       26.    Plaintiff realleges and incorporates by reference the allegations contained

in paragraphs 1 through 23, as if fully set forth herein.

       27.    There is no adequate remedy at law, such as monetary damages, which

can compensate Live Brands for GAD’s breach of the MOU.

       WHEREFORE, Live Brands prays this Court enter a judgment in favor of Live

Brands and against GAD: (a) enforcing the conversion of DSWS’s investment into equity,

as required under the terms of the MOU, resulting in a 26.67% ownership of GAD Spirits;

(b) enforcing the provisions of the MOU by requiring GAD to accept the additional

$350,000 due for an additional 23.43% interest in GAD Spirits; (c) requiring GAD to

provide proof to Live Brands that GAD has ownership, free and clear of liens, of the fixed

assets used in the production of the distilled spirits produced by GAD; (d) requiring GAD

to provide proof to Live Brands that it has the right to redeem the membership interests

of the existing investors of GAD in GAD Spirits upon Live Brands paying the remaining

$350,000 due under the MOU; (e) requiring GAD to provide proof to Live Brands that

GAD achieved specified operating targets, as specified in Exhibit C to the MOU; (f)

requiring GAD to provide proof to Live Brands that GAD has the right to use the land

where GAD operates for 30 to 50 years without expense; and (g) requiring Gad to provide

proof to Live Proof that the GAD shareholders contributed 100% of their shares in GAD

to GAD Spirits in exchange for a direct or indirect 50% ownership interest in GAD Spirits.



                                              7
          Case 1:20-cv-01213-AS Document 15 Filed 02/18/20 Page 8 of 9




Live Brands also prays this Court enter a judgment for costs and such other and further

relief as may be deemed just under the circumstances.

                                         COUNT III

       28.    Plaintiff realleges and incorporates by reference the allegations contained

in paragraphs 1 through 23, as if fully set forth herein.

       29.     The Individual Defendants, as the four shareholders of GAD, negotiated

the terms of the MOU and agreed to the term of the MOU, including the provision where

the Individual Defendants agreed to contribute 100% of their shares in GAD to GAD

Spirits in exchange for a direct or indirect 50% ownership interest in GAD Spirits.

       30.    Despite numerous requests, neither DSWS nor Live Brands has received

confirmation that the Individual Defendants have contributed 100% of their shares in GAD

to GAD Spirits in exchange for a direct or indirect 50% ownership interest in GAD Spirits.

       31.    There is no adequate remedy at law, such as monetary damages, which

can compensate Live Brands for the Individual Defendants’ failure to contribute their

shares of GAD to GAD Spirits, as required by the MOU.

       WHEREFORE, Live Brands prays this Court enter a judgment in favor of Live

Brands and against the Individual Defendants, requiring the Individual Defendants to

contribute 100% of their shares in GAD to GAD Spirits in exchange for a direct or indirect

50% ownership interest in GAD Spirits.        Live Brands also prays this Court enter a

judgment for costs and such other and further relief as may be deemed just under the

circumstances.




                                              8
          Case 1:20-cv-01213-AS Document 15 Filed 02/18/20 Page 9 of 9




                              DEMAND FOR JURY TRIAL

       Plaintiff, Live Brands Holdings, LLC, hereby demands a trial by jury on all issues

so triable.

       Dated: February 18, 2020



                                                s/John D. Goldsmith
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                                            9
